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                                  UNITED STATES DISTRICT COURT
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                                 NORTHERN DISTRICT OF CALIFORNIA
13
                                     SAN FRANCISCO DIVISION
14

15 SECURITIES AND EXCHANGE COMMISSION,
                                                             Case No. 3:20-cv-06756-YGR
16                  Plaintiff,

17          v.                                               [PROPOSED] JUDGMENT AS TO
                                                             DEFENDANT LEWIS I. WALLACH
18 LEWIS I. WALLACH,

19                  Defendant.

20

21       The Securities and Exchange Commission having filed a Complaint and Defendant Lewis I.

22 Wallach (“Defendant”) having entered a general appearance; consented to the Court’s

23 jurisdiction over Defendant and the subject matter of this action; consented to entry of this

24 Judgment; waived findings of fact and conclusions of law; and waived any right to appeal from

25 this Judgment:

26                                                   I.

27       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is permanently

28 restrained and enjoined from violating, directly or indirectly, Section 10(b) of the Securities

     [PROPOSED] JUDGMENT
                                                     1
     SEC V. LEWIS I. WALLACH
 1   Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5 promulgated
 2   thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of interstate
 3   commerce, or of the mails, or of any facility of any national securities exchange, in connection
 4   with the purchase or sale of any security:
 5       (a).     to employ any device, scheme, or artifice to defraud;
 6       (b)      to make any untrue statement of a material fact or to omit to state a material fact
                  necessary in order to make the statements made, in the light of the circumstances
 7                under which they were made, not misleading; or
 8       (c)      to engage in any act, practice, or course of business which operates or would operate
                  as a fraud or deceit upon any person.
 9
10       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in Rule
11   65(d)(2) of the Federal Rules of Civil Procedure, the foregoing paragraph also binds the
12   following who receive actual notice of this Judgment by personal service or otherwise: (a)
13   Defendant’s officers, agents, servants, employees, and attorneys; and (b) other persons in active
14   concert or participation with Defendant or with anyone described in (a).
15
                                                      II.
16

17       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant is

18   permanently restrained and enjoined from violating Section 17(a) of the Securities Act of 1933

19   (the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale of any security by the use of any

20   means or instruments of transportation or communication in interstate commerce or by use of the

21   mails, directly or indirectly:

22       (a)      to employ any device, scheme, or artifice to defraud;

23       (b)      to obtain money or property by means of any untrue statement of a material fact or
                  any omission of a material fact necessary in order to make the statements made, in
24                light of the circumstances under which they were made, not misleading; or
25       (c)      to engage in any transaction, practice, or course of business which operates or would
26                operate as a fraud or deceit upon the purchaser.

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     [PROPOSED] JUDGMENT
                                                            2
     SEC V. LEWIS I. WALLACH
 1       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in Rule
 2   65(d)(2) of the Federal Rules of Civil Procedure, the foregoing paragraph also binds the
 3   following who receive actual notice of this Judgment by personal service or otherwise: (a)
 4   Defendant’s officers, agents, servants, employees, and attorneys; and (b) other persons in active
 5   concert or participation with Defendant or with anyone described in (a).
 6                                                   III.
 7       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, pursuant to Section
 8   21(d)(2) of the Exchange Act [15 U.S.C. § 78u(d)(2)] and Section 20(e) of the Securities Act [15
 9   U.S.C. § 77t(e)]], Defendant is prohibited from acting as an officer or director of any issuer that
10   has a class of securities registered pursuant to Section 12 of the Exchange Act [15 U.S.C. § 78l]
11   or that is required to file reports pursuant to Section 15(d) of the Exchange Act [15 U.S.C.
12   § 78o(d)].
13                                                   IV.

14       Upon motion of the Commission, the Court shall determine whether it is appropriate to order
15   disgorgement of ill-gotten gains and/or a civil penalty pursuant to Section 20(d) of the Securities
16   Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d)(3)], and,
17   if so, the amount(s) of the disgorgement and/or civil penalty. If disgorgement is ordered,
18   Defendant shall pay prejudgment interest thereon, calculated from September 1, 2015, based on
19   the rate of interest used by the Internal Revenue Service for the underpayment of federal income
20   tax as set forth in 26 U.S.C. § 6621(a)(2). In connection with the Commission’s motion for
21   disgorgement and/or civil penalties, and at any hearing held on such a motion: (a) Defendant will
22   be precluded from arguing that he did not violate the federal securities laws as alleged in the
23   Complaint; (b) Defendant may not challenge the validity of the Consent or this Judgment; (c)
24   solely for the purposes of such motion, the allegations of the Complaint shall be accepted as and
25   deemed true by the Court; and (d) the Court may determine the issues raised in the motion on the
26   basis of affidavits, declarations, excerpts of sworn deposition or investigative testimony, and
27   documentary evidence, without regard to the standards for summary judgment contained in Rule
28   56(c) of the Federal Rules of Civil Procedure. In connection with the Commission’s motion for


     [PROPOSED] JUDGMENT
                                                         3
     SEC V. LEWIS I. WALLACH
 1   disgorgement and/or civil penalties, the parties may take discovery, including discovery from
 2   appropriate non-parties.
 3                                                   V.
 4       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is
 5   incorporated herein with the same force and effect as if fully set forth herein, and that Defendant
 6   shall comply with all of the undertakings and agreements set forth therein.
 7                                                   VI.
 8       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, for purposes of
 9   exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. §523, the
10   allegations in the complaint are true and admitted by Defendant, and further, any debt for
11   disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under this
12   Judgment or any other judgment, order, consent order, decree or settlement agreement entered in
13   connection with this proceeding, is a debt for the violation by Defendant of the federal securities
14   laws or any regulation or order issued under such laws, as set forth in Section 523(a)(19) of the
15   Bankruptcy Code, 11 U.S.C. §523(a)(19).
16                                                  VII.
17       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain
18   jurisdiction of this matter for the purposes of enforcing the terms of this Judgment.
19                                                  VIII.
20       There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil
21   Procedure, the Clerk is ordered to enter this Judgment forthwith and without further notice.
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     Dated: ______________,                     ____________________________________
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25                                              UNITED STATES DISTRICT JUDGE
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     [PROPOSED] JUDGMENT
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     SEC V. LEWIS I. WALLACH
